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                      THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  )
 In re:                                           )
                                                  )    Chapter 7
  JOHN THOMAS LUCIANO,                            )
                                                  )
                               Debtor.            )    Case No. 18-13207-MDC
                                                  )

               APPLICATION OF TRUSTEE FOR AUTHORITY TO EMPLOY
                   STAR REAL ESTATE AS REAL ESTATE BROKER

TO: THE HONORABLE MAGDELINE D. COLEMAN, U.S. BANKRUPTCY JUDGE:

          The Application of Gary F. Seitz, Esquire, Trustee herein, by and through his counsel,

Gellert Scali Busenkell & Brown LLC, respectfully represents that:

          1.     Your applicant is the duly appointed Chapter 7 Trustee, has qualified and is so

acting in the above-captioned bankruptcy proceeding.

          2.     This application is filed pursuant to the provisions of 11 U.S.C. §327.

          3.     Applicant desires to employ Star Real Estate Group, Inc., as real estate broker for

the Trustee, (“Real Estate Broker”) to provide real estate consulting, marketing and related

brokerage services with respect to any and all real estate of the bankruptcy estate including 729

S. 9TH St, Philadelphia, PA 19147 (the “Property”).

          4.     Real Estate Broker has conducted a preliminary investigation into and an analysis

of the Property. Your Applicant believes that the Real Estate Broker’s knowledge and experience

in these matters will greatly assist your Applicant in obtaining the best possible price in a prompt

and efficient manner without unnecessary and duplicative expense to the estate.

          5.     Real Estate Broker’s special employment will be limited to the Property.
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        6.       Sale of the Property in a prompt and efficient manner will greatly enhance the

assets of the estate and is in the best interests of the estate.

        7.       Real Estate Broker has agreed to accept this engagement at the firm’s standard

commission of six percent (6%) of the purchase price, subject to application on notice for

bankruptcy court approval as required.

        8.       Real Estate Broker’s agreement with the Trustee is that in the event its firm is

unsuccessful in locating an able buyer, the firm will waive any administrative claim for costs and

expenses advanced in furtherance of the transaction.

        9.       The best interest of the estate will be served by the limited retention of the Real

Estate Broker.

        10.      The Real Estate Broker is disinterested as set out in the Declaration of Richard

Astrella. A true and correct copy of Declaration is attached and marked as Exhibit “A”.

        11.      This Application has been made in accordance with Local Rule 9013(d) and

2014.1.

       WHEREFORE, Your Applicant prays for an Order approving the employment of Star

Real Estate as Real Estate Broker for the Trustee and for such other and further relief as is just.

Dated: March 6, 2019
       Philadelphia, PA                           GELLERT SCALI BUSENKELL & BROWN LLC

                                                  By: _/s/ Holly S. Miller_______________
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                                                     Holly S. Miller, Esquire
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